 Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.3 Page 1 of 20




Matthew L. Lalli (6105)
Jeremy J. Stewart (12247)
Sarah A. Hafen (16466)
SNELL & WILMER L.L.P.
15 West South Temple, Suite 1200
Salt Lake City, Utah 84101-1004
Telephone: (801) 257-1900
Facsimile: (801) 257-1800
mlalli@swlaw.com
jjstewart@swlaw.com
sahafen@swlaw.com

Paul. J. Reilly (pro hac vice pending)
David Tobin (pro hac vice pending)
Susan Kennedy (pro hac vice pending)
BAKER BOTTS L.L.P.
2001 Ross Avenue, Suite 900
Dallas, Texas 75201-2980
Telephone: (214) 953-6869
Facsimile: (214) 661-4869
Paul.Reilly@BakerBotts.com
David.Tobin@BakerBotts.com
Susan.Kennedy@BakerBotts.com

     Attorneys for Plaintiff Cricut, Inc.


                              UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION

CRICUT, INC., a Delaware corporation,
                                                         COMPLAINT
                  Plaintiff,

v.                                                 Case No. 2:21-cv-00601-DBB

ENOUGH FOR EVERYONE, INC., a Nevada                    Judge David Barlow
corporation, and DESIRÉE TANNER, an
individual,

                  Defendants.

4845-2454-3229
 Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.4 Page 2 of 20




          Plaintiff Cricut, Inc. (“Cricut”), by and through the undersigned counsel, hereby

complains against Defendants Enough for Everyone, Inc. (“E for E”) and Desirée Tanner

(“Tanner,” and collectively with E for E, “Defendants”) and for causes of action alleges as

follows:

                                              PARTIES

          1.     Plaintiff Cricut is a Delaware corporation, formed and existing under the laws of

the State of Delaware, with its principal place of business in Salt Lake County, Utah.

          2.     Plaintiff Cricut originally was incorporated in Utah as Provo Craft & Novelty,

Inc. (“Provo Craft”). In March 2018, it changed its name to Cricut, Inc., and subsequently

changed its state of incorporation to Delaware. Except as expressly specified, references in this

Complaint to “Plaintiff” shall include Plaintiff Cricut and its predecessor, Provo Craft.

          3.     Defendant E for E is a Nevada corporation, formed and existing under the laws of

the State of Nevada, with its principal place of business in Douglas County, Nevada.

          4.     Defendant E for E is a successor to Enough for Everyone, Inc., a California

corporation. Except as expressly specified, references in this Complaint to “E for E” shall

include Defendant E for E, the current Nevada corporation, and its predecessor, the California

corporation.

          5.     Defendant Tanner is an individual currently residing in Douglas County, Nevada.

          6.     Tanner is the founder, sole shareholder, president, secretary, treasurer, and sole

director of E for E.

                                   JURISDITION AND VENUE

          7.     This Court has personal jurisdiction over E for E because E for E agreed and

consented to be subject to personal jurisdiction in Utah in a contract out of which this lawsuit

arises. See Consulting Services and Royalty Agreement, attached hereto as Exhibit B (“2007

4845-2454-3229                                     2
 Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.5 Page 3 of 20




Agreement”) (Filed Under Seal pursuant to the Court’s Standard Protective Order), § 9.6. E for

E also agreed that Utah law would govern any disputes under the 2007 Agreement. Id.

          8.     In addition to E for E consenting to personal jurisdiction, the Court also has

personal jurisdiction over E for E because E for E regularly conducted business in Utah and has

purposefully availed itself of the privilege of conducting activities within Utah, invoking the

benefits and protection of Utah laws. Utah Code Ann. § 78B-3-205.

          9.     This Court has personal jurisdiction over Tanner because Tanner, in her personal

capacity, agreed and consented to personal jurisdiction in Utah in a contract out of which this

lawsuit arises. See Consulting Agreement, attached hereto as Exhibit A (“2005 Agreement”)

(Filed Under Seal pursuant to the Court’s Standard Protective Order), § 9.2.

          10.    In addition to Tanner consenting to personal jurisdiction, the Court also has

personal jurisdiction over Tanner because Tanner regularly conducted business in Utah and has

purposefully availed herself of the privilege of conducting activities within Utah, invoking the

benefits and protection of Utah laws. Utah Code Ann. § 78B-3-205.

          11.    The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332, as this is a civil action between citizens of different states in which the amount-in-

controversy exceeds the sum of $75,000, exclusive of interests and costs.

          12.    Venue in this Court is proper pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in this

judicial district, including the negotiation, formation, execution and performance of the 2005 and

2007 Agreements, which contain Utah choice-of-law and choice-of-forum provisions.

                                   GENERAL ALLEGATIONS

          13.    Plaintiff has been in the “crafting” business for many years. Plaintiff’s crafting

business has included selling machines used to cut out various patterns (“cutting machines”) in

4845-2454-3229                                     3
 Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.6 Page 4 of 20




paper and other materials, as well as the patterns themselves (“patterns”). In addition, Plaintiff

has sold ancillary products such as special vinyl and paper from which patterns can be cut.

          14.    Beginning before 2005, Tanner, as an independent contractor, designed patterns

for Plaintiff to market, and also helped Plaintiff recruit, select, and oversee other artists and

designers to develop patterns.

          15.    Prior to 2005, Plaintiff initiated a project to develop an electronic cutting

machine, which it intended to be produced and then sold to customers as a new and better type of

cutting machine.

          16.    By the beginning of 2005, Plaintiff’s employees and independent contractors

(including Tanner) had invented and developed various aspects of the novel electronic cutting

machine and related accessories for consumer use.

          17.    Specifically, Tanner, as an independent contractor and not as an employee, was a

co-inventor (along with seven other named inventors) of the ornamental design for an electronic

cutting machine and its related cartridges (the “Design Inventions”).

          18.    The novel electronic cutting machine could cut many different patterns. The

electronic instructions for the patterns were contained on cartridges that were designed to plug

into a slot located on the front of the electronic cutting machine. Such cartridges were sold

separately. The electronic cutting machines were sold under the brand name “Cricut” and

marketed as “Personal Electronic Cutter.”

In 2005, Tanner and Plaintiff entered into a royalty agreement (the 2005 Agreement).

          19.    Plaintiff wanted to apply for patents on the Design Inventions of which Tanner

was a co-inventor. In order for Plaintiff to acquire Tanner’s patent rights as a co-inventor,

Plaintiff and Tanner negotiated and ultimately signed the 2005 Agreement, effective February

21, 2005. See Exhibit A.

4845-2454-3229                                     4
 Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.7 Page 5 of 20




          20.    Under the 2005 Agreement, Plaintiff agreed to pay royalties to Tanner, with the

consideration from Tanner including Tanner assigning to Plaintiff her rights to patents on the

Design Inventions.

          21.    For example, Section 1.8 of the 2005 Agreement defines “Intellectual Property

Right” to include, inter alia:

                 Patent Rights and Other Rights, and specifically including, but not
                 limited to, the right to . . . ii) seek and obtain protection therefor
                 (including without limitation the right to seek and obtain
                 copyright registrations, Letters Patent and Trademark
                 Registrations) in the United States and all other countries in Provo
                 Craft’s name (or otherwise as Provo Craft may desire), and iii)
                 claim all rights and priority thereunder to the extent, if any, that
                 Tanner may be entitled to claim any such rights.

          22.    Article 6 of the 2005 Agreement is entitled “Intellectual Property Rights and
Enforcement.” Within that Article, Section 6.1 of the 2005 Agreement states:

                 …Tanner acknowledges and agrees to and hereby irrevocably
                 assigns, sells, transfers, grants and conveys all of her worldwide
                 right, title and interest in and to any improvements or contributions
                 to the Royalty-Based Products and Ancillary Products from the
                 moment of creation to Provo Craft, its successors and assigns
                 (without the necessity of any further consideration or action on the
                 part of Provo Craft or Tanner), including, but not limited to, all
                 Intellectual Property Rights therein, for perpetuity (or for the
                 longest period of time otherwise permitted by law) . . . the same to
                 be held and enjoyed by Provo Craft to the same extent that such
                 right, title and interest would have been held and enjoyed by
                 Tanner if this assignment had not been made.
See 2005 Agreement § 6.1 (emphasis added).

          23.    Tanner also specifically agreed in Section 6.2 of the 2005 Agreement to help

Plaintiff acquire and perfect title to the Intellectual Property Rights, agreeing to: “cooperate fully

and promptly with Provo Craft and to do all acts necessary or required to be done or requested by

4845-2454-3229                                     5
 Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.8 Page 6 of 20




Provo Craft in order to perfect title to all Intellectual Property Rights in the newly developed

Royalty-Based Products…before the United States Patent and Trademark Office….”

          24.    The “Royalty-Based Products” referenced in Sections 6.1 and 6.2 of the 2005

Agreement as quoted above include the novel electronic cutting machine and related cartridges

described above for which Tanner agreed to assign her design patent rights to Plaintiff in the

2005 Agreement. For example, Schedule B of the 2005 Agreement is subtitled “Royalty-Based

Products and Royalty Rates,” it identifies the novel electronic cutting machine and related

cartridges among the “Royalty-Based Products,” and it specifies a royalty rate of “1/2%” of the

revenue on each sale of the covered electronic cutting machines—at the time referred to as

“Kuttr branded electronic cutting machines or its replacement”—and related cartridges.

          25.    In addition to that royalty on the revenues earned on the electronic cutting

machines and related cartridges, Plaintiff also agreed in the 2005 Agreement to pay Tanner

separate consulting fees for her future consulting services (e.g., recruiting artists).

          26.    The provisions of the 2005 Agreement relating to assignment of intellectual

property, set forth in Article 6, were material terms of the agreement. For example, the

agreement provided either party the right to terminate the agreement for a material breach, but

“[w]ith respect to Tanner, a material breach of this Agreement shall be limited to a breach of the

terms and conditions of Article 6 and Article 7 herein and shall not include Tanner’s ability to

satisfactorily perform or inability to perform the Consulting Services.” 2005 Agreement § 8.3.

Also, even if the agreement would be terminated, the “provisions of this Agreement with respect

to Confidential Information and Intellectual Property shall survive expiration or termination of

this Agreement.” 2005 Agreement § 8.6.

          27.    Defendants contend that the royalties on electronic cutting machines and related

cartridges are perpetual.

4845-2454-3229                                     6
 Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.9 Page 7 of 20




Pursuant to the 2005 Agreement, Tanner assigned to Plaintiff several design patents.

          28.    Within months of execution of the 2005 Agreement, and with the cooperation as

agreed by Tanner, Plaintiff filed seven design patent applications on the novel electronic cutting

machine and related cartridges.

          29.    Those applications ultimately matured into the following seven United States

design patents: D533,582; D533,897; D534,204; D534,205; D541,843; D541,844; D543,583

(collectively, the “Design Patents”). True and correct copies of each of the Design Patents are

attached hereto as Exhibits C-I, respectively.

          30.    Each of the Design Patents includes the term “Electronic Cutter” within its title.

          31.    Provo Craft and Novelty, Inc. is listed as the assignee on each of the Design

Patents.

          32.    Each of the applications that ultimately matured as the Design Patents was filed

July 14, 2005.

          33.    Tanner is listed as an inventor on each of the Design Patents, along with seven

other co-inventors.

          34.    Tanner assigned her interests in each of the Design Patents to Plaintiff, as required

by the 2005 Agreement.

          35.    United States Design Patent No. D533,582 is entitled “Control Panel for an

Electronic Cutter.” D533,582 expired December 12, 2020.

          36.    United States Design Patent No. D533,897 is entitled “Electronic Cutter.”

D533,897 expired December 19, 2020.

          37.    United States Design Patent No. D534,204 is entitled “Electronic Cutter.”

D534,204 expired December 26, 2020.



4845-2454-3229                                     7
Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.10 Page 8 of 20




          38.    United States Design Patent No. D534,205 is entitled “Electronic Cutter.”

D534,205 expired December 26, 2020.

          39.    United States Design Patent No. D541,843 is entitled “Cartridge for Electronic

Cutter.” D541,843 expired May 1, 2021.

          40.    United States Design Patent No. D541,844 is entitled “Cartridge for Electronic

Cutter.” D541,844 expired May 1, 2021.

          41.    United States Design Patent No. D543,583 is entitled “Electronic Cutter.”

D543,583 expired May 29, 2021.

          42.    Other than the seven Design Patents, Tanner was not named as an inventor on any

other patent applied for or held by Plaintiff. Tanner has not assigned any other patent rights to

Plaintiff.

In 2007, Plaintiff and Tanner amended and replaced the 2005 Agreement (the 2007
Agreement).
          43.    In 2007, Plaintiff, E for E, and Tanner executed the 2007 Agreement.

          44.    Certain provisions of the 2005 Agreement were carried over to the 2007

Agreement, and others were modified for the 2007 Agreement. For example, the term, scope

(including the products on which royalties were owed), and rates of the royalties carried over

from the 2005 Agreement into the 2007 Agreement.

          45.    A key reason for amending the 2005 Agreement was that Tanner had formed

Enough for Everyone, Inc., a California corporation, to collect her patent royalties. Accordingly,

E for E also became a party to the 2007 Agreement.

          46.    Another reason for amending the 2005 Agreement was so that the “Kuttr” brand

name originally proposed for the electronic cutting machine and related cartridges conformed to

the “Cricut” brand name that actually was used. See Schedule B of the 2005 Agreement and

Section 3.3. of the 2007 Agreement.
4845-2454-3229                                   8
Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.11 Page 9 of 20




          47.    Accordingly, under the 2007 Agreement the royalties on the electronic cutting

machines and related cartridges—now branded as “Cricut”—became payable to Enough for

Everyone, Inc., the California corporation, and subsequently to E for E, the Nevada corporation.

          48.    With the name change from Kuttr to Cricut, the 2007 Agreement maintained the

same royalty rate as the 2005 Agreement for the same products. For example, Section 3.3 of the

2007 Agreement stated that E for E would receive “one half percent (1/2 %) of any CRICUT-

branded electronic cutting machines, one half percent (1/2 %) of any CRICUT-branded cutting

cartridges, or other cartridges that have the same fit, form or function, as the CRICUT-branded

cutting cartridges, for use with CRICUT-branded electronic cutting machines.” In other words,

the patent-based royalty rate carried forward unchanged from the 2005 Agreement to the 2007

Agreement.

          49.    The original “CRICUT-branded electronic cutting machines” and the “CRICUT-

branded cutting cartridges” for which royalties were due under Section 3.3 of the 2007

Agreement correspond to the products made and sold under the Design Patents. Representative

comparisons of photographs of the Cricut-branded electronic cutting machines and the Cricut-

branded cutting cartridges, as originally sold, with figures from the Design Patents, are shown

below:




4845-2454-3229                                   9
Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.12 Page 10 of 20




                    CRICUT-branded electronic cutting machines




                 D533,582                                 D534,204




                 D533,897
                                                          D543,583




                 D534,205




4845-2454-3229                         10
Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.13 Page 11 of 20




                              CRICUT-branded cutting cartridges




             D541,843                       D541,843                      D541,844




Plaintiff has paid all amounts owed to Defendants under the Agreements through June 30,
2021.
          50.    Plaintiff made payments to Tanner (under the 2005 Agreement) and to E for E

(under the 2007 Agreement).

          51.    Those payments included consulting fees (as governed by Section 3.1 of the 2005

Agreement and Section 2.7 of the 2007 Agreement), as well as royalties (under Section 3.2 of the

2005 Agreement and Section 3.3 of the 2007 Agreement).




4845-2454-3229                                  11
Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.14 Page 12 of 20




          52.    On March 12, 2009, Plaintiff notified Defendants that their consulting work was

no longer needed, and Plaintiff subsequently ceased making payments for consulting services

under the 2007 Agreement, as provided in Article 2 of the 2007 Agreement.

          53.    Because the royalty payment obligation was not tied to Defendants’ consulting

services, and because Plaintiff continued making sales of the covered electronic cutting machines

and related cartridges, Plaintiff continued to pay E for E royalties pursuant to Section 3.3 of the

2007 Agreement.

          54.    In particular, Plaintiff has continued to make payments pursuant to Section 3.3 of

the 2007 Agreement, which provides, inter alia:

                 …Provo Craft shall pay to E for E a Royalty as follows, based
                 upon the Net Sales Price…: one half percent (1/2 %) of any
                 CRICUT-branded electronic cutting machines, [and] one half
                 percent (1/2 %) of any CRICUT-branded cutting cartridges, or
                 other cartridges that have the same fit, form or function as the
                 Cricut-Branded cutting cartridges, for use with CRICUT-branded
                 electronic cutting machines….
          55.    Plaintiff paid increasing royalties to E for E during 2007 through 2010 due to

increasing sales of electronic cutting machines and related cartridges. The one-half percent

royalty rate remained constant.

          56.    In 2010, however, Plaintiff’s business began to decline, and, by 2011, Plaintiff

verged on insolvency and was in default on its secured bank loans.

          57.    In deep financial distress, Plaintiff ceased paying E for E under the 2007

Agreement.

          58.    In 2011, E for E sued Provo Craft. In paragraph 9 of its First Amended

Complaint, E for E alleged that Tanner is “…the inventor of the products for which royalties are

due to EFE under the agreement described therein.” E for E further alleged in paragraph 1 that

the “inventions of Desiree Tanner” included the “Cricut family of electronic cutting machines,

4845-2454-3229                                    12
Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.15 Page 13 of 20




also known as ‘e-cutters,’ and related design cartridges and consumables.” E for E obtained a

judgment and ultimately collected the full judgment amount with interest.

          59.    Plaintiff was able to pay the judgment in full due to an out of court restructuring

of Plaintiff, in which the former lenders took control of the company and brought in a new CEO

who engineered a successful turn-around of Plaintiff’s business.

          60.    Under its new ownership and new CEO, Plaintiff redesigned its electronic cutting

machines so that users would not need to insert cartridges to load the instructions for patterns.

Instead, Plaintiff began offering digital patterns by download over the Internet, including by

subscription service, so crafters could download online patterns and then electronically transfer

those patterns to the electronic cutting machines, with no need for a cartridge.

          61.    Since the full payment of the judgment obtained by E for E, Plaintiff has paid all

amounts due under the 2007 Agreement including the payment due with respect to the calendar

quarter ending June 30, 2021, aggregating millions of dollars.

Plaintiff has overpaid E for E for online subscriptions and downloads.

          62.    In error, Plaintiff has, over the years, paid E for E more than actually owed under

the 2007 Agreement.

          63.    Under Section 3.3 of the 2007 Agreement, copied below in its entirety, royalties

were due only on certain branded cutting machines and their related cartridges:

                 3.3 Covered Products. Except for the Royalty-Based Products
                 specifically listed as having a Royalty Rate in Schedule B, no
                 Royalty hereunder shall be due or owing for any sales of any other
                 products. Notwithstanding the foregoing, Provo Craft shall pay to
                 E for E a Royalty as follows, based upon the Net Sales Price, for
                 the specified products for which E for E is not otherwise receiving
                 or eligible to receive a Royalty or Consulting Fee hereunder: one
                 half percent (1/2 %) of any CRICUT-branded electronic cutting
                 machines, one half percent (1/2 %) of any CRICUT-branded
                 cutting cartridges, or other cartridges that have the same fit, form
                 or function, as the Cricut-Branded cutting cartridges, for use with
                 CRICUT-branded electronic cutting machines, one half percent
4845-2454-3229                                    13
Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.16 Page 14 of 20




                 (1/2 %) of any CUTTLEBUG branded machines, three quarter
                 percent (3/4%) of any CUTTLEBUG-branded die cast dies, and
                 three quarter percent (3/4%) of any CUTTLEBUG-branded plastic
                 embossing folders. For avoidance of doubt, this provision prevails
                 over Section 3.1 Royalty Generally.
Online subscriptions and downloads are not specifically listed as having a Royalty Rate in

Schedule B. Under the plain language of Section 3.3, no royalties are owed for online

subscriptions and downloads.

          64.    Plaintiff, however, erroneously included in its royalty calculation revenues from

online subscriptions and downloads, which were not covered by the 2007 Agreement.

          65.    Those excess payments for online subscriptions and downloads total more than

one million dollars.

Because all the Design Patents have expired, Plaintiff’s obligation to pay royalties under
the 2007 Agreement has ended and Plaintiff has overpaid.
          66.    All the Design Patents assigned by Tanner to Plaintiff pursuant to the Agreements

have expired, the last of which expired on May 29, 2021.

          67.    Defendants have not provided to Plaintiff any goods, services, consultation, or

other benefit since Defendants stopped providing consulting services to Plaintiff in 2009.

          68.    The 2005 Agreement provides for a flat royalty of one-half percent on certain

branded electronic cutting machines, regardless of whether any Design Patents remain in force.

The 2005 Agreement does not provide for a discounted royalty rate after the expiration of the

Design Patents.

          69.    Section 3.3 of the 2007 Agreement provides for a flat royalty of “one-half percent

(1/2 %) of any CRICUT-branded electronic cutting machines” and a flat royalty of “one half

percent (1/2 %) of any CRICUT-branded cutting cartridges….” The 2007 Agreement does not

provide for a discounted royalty rate after the expiration of the Design Patents.



4845-2454-3229                                   14
Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.17 Page 15 of 20




          70.    An agreement to pay a royalty on revenues accruing after the expiration of the

underlying patents is void and unenforceable as against public policy once the underlying patents

have expired. Kimble v. Marvel Entertainment, LLC, 576 U.S. 446, 135 S. Ct. 2401 (2015).

          71.    The 2005 Agreement is an agreement to pay a royalty on revenue accruing after

the expiration of the Design Patents.

          72.    The 2007 Agreement is an agreement to pay a royalty on revenue accruing after

the expiration of the Design Patents.

          73.    The July 2021 royalty payment from Cricut to E for E pursuant to Section 3.3 of

the 2007 Agreement included royalties for the quarter ending June 30, 2021.

          74.    In the July 2021 royalty payment, Plaintiff erroneously calculated royalties by

including the revenues earned after the last patent expired on May 29, 2021. E for E is not

entitled to royalties on revenues accruing after May 29, 2021.

          75.    Plaintiff’s overpayment to E for E for royalties on revenues accruing after the

Design Patents expired (i.e., the period from May 29, 2021 through June 30, 2021) exceeds

$300,000.

          76.    Absent the expiration of the last of the Design Patents, the next quarterly royalty

payment following Plaintiff’s July 2021 royalty payment would have been due October 12, 2021.

Due to the expiration of the last of the Design Patents on May 29, 2021, however, Plaintiff owes

Defendants no additional royalties, and Plaintiff made no payment to E for E on October 12,

2021.

                                  FIRST CAUSE OF ACTION
                            (Declaratory Judgment, 28 U.S.C. § 2201)
          77.    Plaintiff incorporates and realleges the preceding paragraphs as if fully set forth

herein.


4845-2454-3229                                    15
Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.18 Page 16 of 20




          78.    This action is brought pursuant to 28 U.S.C. § 2201, the Declaratory Judgment

Act, which allows this Court to adjudicate parties’ respective rights and other legal relations in

an actual controversy. This Court has power to issue declaratory judgments determining rights,

status, and other legal relations within its jurisdiction.

          79.    At least two actual controversies exist between Plaintiff and Defendants.

          80.    First, Plaintiff maintains that the 2007 Agreement does not require Plaintiff to

make royalty payments for online subscriptions and downloads, that Plaintiff’s mistaken royalty

payments for such online subscriptions and downloads must be returned by Defendants, and that

Plaintiff is not required to make any future royalty payments to Defendants for such online

subscriptions and downloads.

          81.    In contrast, Defendants maintain that the 2007 Agreement does require royalty

payments for online subscriptions and downloads, that they are entitled to keep such payments

already made, and that they are entitled to continue to receive such payments in the future.

          82.    Second, Plaintiff maintains that, as a matter of law, Plaintiff owes no royalty

payments under the 2007 Agreement on any revenues earned after May 29, 2021 when the last of

the Design Patents on the Design Inventions expired, that any provisions in the agreements to the

contrary are unenforceable, that Plaintiff’s non-payment of royalties on October 12, 2021 was

not a breach of the 2007 Agreement, that Plaintiff’s mistaken payment exceeding $300,000 must

be returned, and that Plaintiff does not need to make any future royalty payments to Defendants.

          83.    In contrast, Defendants maintain that those royalty payments for the Design

Inventions are still owed by Plaintiff in perpetuity, that the royalty payments must be paid by

Plaintiff in perpetuity despite the expiration of all of the Design Patents, and, on information and

belief, that the non-payment of royalties by Plaintiff on October 12, 2021 constitutes a default

and non-payment of amounts due under the 2007 Agreement.

4845-2454-3229                                     16
Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.19 Page 17 of 20




          84.    Plaintiff seeks declaratory relief because a judgment will resolve these

controversies and remove uncertainty.

          85.    Plaintiff is entitled to, and hereby requests, declaratory judgment as follows:

                    a. the 2007 Agreement does not require Plaintiff to make royalty payments

                        for online subscriptions and downloads; Plaintiff’s mistaken royalty

                        payments for such online subscriptions and downloads must be returned

                        by Defendants; and Plaintiff is not required to make any future royalty

                        payments to Defendants for such online subscriptions and downloads; and

                    b. Plaintiff owes no royalty payments under the 2007 Agreement on any

                        revenues earned after May 29, 2021 when the last of the Design Patents on

                        the Design Inventions expired; any and all agreement provisions to the

                        contrary are unenforceable; Plaintiff’s non-payment on October 12, 2021,

                        was not a breach of the 2007 Agreement; Plaintiff’s mistaken payment

                        exceeding $300,000 must be returned by Defendants; and Plaintiff does

                        not need to make any future royalty payments to Defendants.

                                  SECOND CAUSE OF ACTION
                                      (Unjust Enrichment)
          86.    Plaintiff incorporates and realleges the preceding paragraphs as if fully set forth

herein.

          87.    Defendants have been unjustly enriched by Plaintiff with respect to the mistaken

and unnecessary royalty payments.

          88.    Plaintiff conferred a benefit on Defendants when it mistakenly paid Defendants

royalties totaling more than one million dollars for online subscriptions and downloads. Neither

the 2005 Agreement, the 2007 Agreement, nor any other agreements between Plaintiff and

Defendants required payments for online subscriptions and downloads.
4845-2454-3229                                    17
Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.20 Page 18 of 20




          89.    Plaintiff conferred a benefit on Defendants when it mistakenly paid Defendants

royalties exceeding $300,000 relating to revenues generated after the last of the Design Patents

expired, which royalty payments are unenforceable and contrary to the law.

          90.    Defendants have actual knowledge that Plaintiff has conferred these benefits to

Defendants, and Defendants accepted and have continued to retain these benefits.

          91.    Under these circumstances—including that these payments were not contracted

for, are contrary to the law, and are in excess of the millions of dollars of payments to which

Defendants were entitled and received—it would be inequitable for Defendants to retain the

benefits of these payments.

          92.    Defendants have been unjustly enriched by not paying Plaintiff the amount it is

owed. Plaintiff is entitled to reimbursement of the more than one million dollars for online

subscriptions and downloads, and the royalties exceeding $300,000 on expired Design Patents.

                                   THIRD CAUSE OF ACTION
                                    (Money Had and Received)
          93.    Plaintiff incorporates and realleges the preceding paragraphs as if fully set forth

herein.

          94.    Plaintiff mistakenly paid Defendants royalties totaling more than one million

dollars for online subscriptions and downloads.

          95.    Moreover, on July 10, 2021, Plaintiff made its final royalty payment to E for E,

covering the months of April to June, 2021.

          96.    Included in that final royalty payment was a payment exceeding $300,000 on

revenue accruing after the expiration of all of the Design Patents (i.e., for the period May 29,

2021 through June 30, 2021) and a payment for online subscriptions and downloads (for the

period April 1, 2021 through June 30, 2021), neither of which payments was owed to

Defendants.
4845-2454-3229                                    18
Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.21 Page 19 of 20




          97.    Plaintiff made such payments by mistake.

          98.    Defendants have actual receipt of that money.

          99.    Defendants have this money in hand, maintaining possession, custody, and

control of that money.

          100.   That money belongs to Plaintiff.

          101.   In equity and good conscience, that money must be paid back to Plaintiff.

Defendants, however, have not paid that money back to Plaintiff.

          102.   Defendants must return such payments to Plaintiff.

                                  FOURTH CAUSE OF ACTION
                                   (Overpayment/Recoupment)
          103.   Plaintiff incorporates and realleges the preceding paragraphs as if fully set forth

herein.

          104.   Plaintiff mistakenly overpaid Defendants royalties totaling more than one million

dollars for online subscriptions and downloads.

          105.   Plaintiff also mistakenly overpaid Defendants over $300,000 on expired Design

Patents (for the period May 29, 2021 through June 30, 2021).

          106.   It would be highly inequitable for Defendants to retain these overpayments, which

were not required under the 2005 Agreement or the 2007 Agreement, which were not earned by

Defendants, which are not allowed by law, and which do not belong to Defendants. Defendants,

however, have not paid these overpayments back to Plaintiff.

          107.   Defendants are not and will not be unduly prejudiced or unduly burdened by

being required to return the overpayments to Plaintiff.

          108.   Plaintiff is entitled to recoupment of the overpayments, and Defendants must

return such overpayments to Plaintiff.


4845-2454-3229                                      19
Case 2:21-cv-00601-TS-DAO Document 2 Filed 10/13/21 PageID.22 Page 20 of 20




                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully prays for the following relief:

          A.     For judgment on each cause of action as requested;

          B.     For damages, as set forth above;

          C.     For equitable and declaratory relief as set forth above;

          D.     For an award of costs, attorney fees, and contractual, pre-judgment and post-

                 judgment interest as allowed by law; and

          E.     For such additional relief as this Court deems appropriate.


          DATED this 13th day of October, 2021.
                                                            SNELL & WILMER, L.L.P.


                                                            /s/ Jeremy J. Stewart
                                                            Matthew L. Lalli
                                                            Jeremy J. Stewart
                                                            Sarah A. Hafen

                                                            BAKER BOTTS L.L.P.
                                                            Paul J. Reilly (pro hac vice pending)
                                                            David Tobin (pro hac vice pending)
                                                            Susan Kennedy (pro hac vice pending)

                                                            Attorneys for Cricut, Inc.




4845-2454-3229                                      20
